           Case 3:19-mj-01372-AGS Document 1 Filed 04/05/19 PageID.1 Page 1 of 26
AO 106 (Rev. 04/10) Application for a Search Warrant



                                      UNITED STATES DISTRICT Co RT
                                                                     for the                                       APR 0 5 2019
                                                         Southern District of California

              In the Matter of the Search of                            )
         (Briefly describe the property to be searched                  )
          or identify the person by name and address)                               Case No.
                                                                        )
                   Black Chevy Malibu                                   )
        bearing California License Plate 6ZQH509                        )
                                                                        )                             19MJ1372
                                             APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

 As described in attachment A, incorporated herein by reference
located in the             Southern               District of   ~~~~~~~~~~~~
                                                                            California            , there is now concealed (identify the
person or describe the property to be seized):
 As described in attachment B, incorporated herein by reference


          The basis forthe search under Fed. R. Crim. P. 4l(c) is (checkoneormore):
               ~evidence of a crime;
                 0 contraband, fruits of crime, or other items illegally possessed;
                 0 property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
           Code Section                                                          Offense Description
       18 U.S.C. s. 3512(a)(2)(A)                  Foreign request for assistance
       NSW Crimes Act of 1900                      Murder, Fraud
       Sections 18 and 192E
         The application is based on these facts:
        Set forth in the attached affidavit, incorporated herein by reference




                                                                                           FBI Special Agent Michelle Hart
                                                                                                 Printed name and title

Sworn to before me and signed in my presence.


Date   APfLf, lfi '1
City and state: San Diego, California                                        Hon. Andrew G. Schopler, United States Magistrate Judge
                                                                                                 Printed name and title
     Case 3:19-mj-01372-AGS Document 1 Filed 04/05/19 PageID.2 Page 2 of 26




 1                                       AFIDA VIT
 2         I, Michelle E. Hart, being duly sworn, hereby depose and state as follows:
 3                                          AFFIANT
 4         1.    I am a Special Agent (SA) with the Federal Bureau of Investigation (FBI), and
 5 have been so employed since July 2015. I am currently assigned to the Violent Crimes
 6 Squad of the San Diego Field Office, where I investigate violent crimes to include, but not
 7 limited to, bank robberies, extortions, assaults against federal officers, kidnappings, and
 8 murders of United States citizens in foreign countries. My experience as an FBI Agent has
 9 included training and experience in interviewing and interrogation techniques, arrest
1O procedures, search warrant applications, the execution of searches and seizures, the use of
11   confidential human sources, electronic and physical surveillance techniques, forensic
12 techniques, computer crimes, computer evidence identification, computer evidence seizure
13 and processing, and various other criminal laws and procedures. I have personally prepared
14 search and arrest warrants and have led and participated in the execution of search and
15 arrest warrants.
16                                     INTRODUCTION
17         2.    Based on my training and experience and the facts set forth in this Affidavit,
18 I respectfully submit that there is probable cause to believe that violations of Crimes Act
19 of 1900 of New South Wales (Australia), specifically Section 18 (murder) and Section
20 192E (fraud) have been committed by Alex Dion.
21         3.    This warrant seeks to collect and seize evidence requested by Australia in its
22 treaty request (the "Request") made pursuant to the Treaty between Australia and the
23 United States of America on Mutual Assistance in Criminal Matters, Aust. - U.S., April
24 30, 1997, S. TREATY DOC. NO. 105-27 (the "Treaty") and authorized by the Treaty and
25   18 U.S.C. § 3512. The warrant will be executed by myself, fellow FBI Agents, with the
26 assistance of the assigned New South Wales homicide detectives.
27        4.     18 U.S.C. § 3512(a)(l) authorizes a Federal judge to order "such orders as
28 may be necessary to execute a request from a foreign authority for assistance in the
     Case 3:19-mj-01372-AGS Document 1 Filed 04/05/19 PageID.3 Page 3 of 26




 1 investigation or prosecution of criminal offenses, or in proceedings related to the
 2 prosecution of criminal offenses ... " Specifically included in the scope of orders that are
 3 authorized by § 3512 are search warrants, "as provided under Rule 41 of the Federal Rules
 4 of Criminal Procedure." 18 U.S.C. § 3512(a)(2)(A).
 5         5.    Search warrants sought under these provisions must be filed in the district in
 6 which the person or place to be searched is located. 18 U.S.C. § 3152(d). As described
 7 below and in Attachment A - incorporated herein by reference - the Subject Vehicle to be
 8 searched pursuant to this warrant is located in the Southern District of California.
 9         6.    Search warrants sought under these provisions may only be issued if the
10 foreign offense for which evidence is sought "involve[] conduct that, if committed in the
11 United States, would be considered an offense punishable by imprisonment for more than
12 one year under Federal or State law." Based on information provided to me by the
13 government of Australia and Assistant United States Attorney Benjamin J. Katz, I know
14 that the crime of murder is defined by Section 18 of the Crimes Act of 1800 as "an offence
15 to commit or omit an act, causing the death with reckless indifference to human life, or
16 with intent to kill or inflict grievous bodily harm upon some person, or done in an attempt
17 to commit, or during or immediately after the commission, by the accused, or some
18 accomplice with him or her." I also know that the crime of fraud, as defined by Section
19 192E of the Crimes Act of 1800 occurs when "a person who, by any deception, dishonestly
20 obtains property belonging to another or obtains any financial advantage or causes any
21 financial disadvantage." I submit that these definitions render murder and fraud crimes
22 that meet the foreign offense requirement of§ 3512(e).
23         7.    I make this affidavit in support of an application for a warrant to search the
24 vehicle of Alex Dion ("the Subject Vehicle"), which is currently located in a secure lot at
25 the FBI's San Diego Division office, 10385 Vista Sorrento Parkway in San Diego,
26 California (described in Attachment A, incorporated herein), which I respectfully submit,
27 based on my training and experience and the evidence set forth below, there is probable
28
                                                 2
     Case 3:19-mj-01372-AGS Document 1 Filed 04/05/19 PageID.4 Page 4 of 26




 1 cause to believe that the Subject Vehicle contains and conceals evidence of the various
 2 criminal offenses set forth above.
 3         8.        The facts set forth in this affidavit are based on my own personal knowledge,
 4 communications with others who have personal knowledge of the events and circumstances
 5 described herein, information received from New South Wales Police ("NSW Police")
 6 regarding their interviews of witnesses, my review of evidence related to this investigation
 7 and the summaries of evidence provided by my counterparts in the NSW Police, and
 8 information gained through my training and experience and in discussions with other
 9 agents. Except where otherwise noted, the information provided in the Statement of
10 Probable Cause below was provided to me by the NSW Police and confirmed by the
11 assigned Homicide Detective, who reviewed this affidavit on April 3, 2019. Because this
12 affidavit is submitted for the limited purpose of establishing probable cause in support of
13 the application for a search warrant, it does not set forth each and every fact that I or others
14 have learned during the course of this investigation.
15                               STATEMENT OF PROBABLE CAUSE
16
        A. The Murder ofWachira Phetmang
           9.        Wachira Phetmang ("Phetmang") was a 33-year old Thai national who resided




22



     and a phone number ending in -9880.
25
26
27
           1
               The Hurtsville area is labeled as Point A in the map attached as Exhibit 1 to this warrant.
28
                                                           3
     Case 3:19-mj-01372-AGS Document 1 Filed 04/05/19 PageID.5 Page 5 of 26




 1         11.       On Wednesday, June 6, 2018, 2 a truck driver discovered Phetmang's body by
 2 the side ofHomebush Bay Drive, a freeway near Sydney's Olympic Park. 3
 3         12.       Phetmang's body was wrapped in black plastic "corflute sheeting" which was
 4 tied with a white rope.               Corflute sheeting is commonly used by tilers and other
 5 tradespersons to protect floor tiles from damage. Phetmang's wrists and ankles were bound
 6 with strips of a tom t-shirt, and more of the same t-shirt material was stuffed into his mouth.
 7         13.       No mobile phones, wallet, or shoes were found on Phetmang's body, however
 8 a single black size 12 men's Dewalt work boot was found under the corflute sheeting.
 9         14.       An autopsy determined that Phetmang had suffered more than 20 wounds to
1O his head and multiple skull fractures. In addition, his nose and one of his thumbs were
11 fractured. The preliminary cause of death given by the examining pathologist was "head
12 injuries." The forensic pathologist also concluded that Phetmang's body may have been
13 by the side of the road for a number of days prior to its discovery on June 6, 2018.
14         15.       Based on the facts below, the NSW Police have concluded that Alex Dion
15 ("Dion"), an American citizen currently housed at the Metropolitan Correctional Center in
16 San Diego, California, murdered Phetmang sometime between May 25, 2018 and May 27,
17 2018, when Dion fled to the United States.

18      B. Dion's Arrest and Extradition Proceedings
19         16.       Based on the information below, on September 11, 2018, the Parramatta
20 (NSW) Local Court issued an arrest warrant for Dion for the offense of Murder.
21         17.       On September 21, 2018, Dion was arrested based on a provisional arrest
22 warrant signed by United States Magistrate Judge Mitchell D. Dembin. A full extradition
23 package was subsequently received and following an extradition hearing was certified
24   extraditable and committed for extradition by United States Magistrate Judge Bernard G.
25 Skomal (case no. 18-mj-4867). He is currently scheduled to be handed over to Australian
26 authorities for extradition on April 12, 2019.
27         2
               All dates and times in this affidavit are in the relevant local time.
28         3
               The approximate location of where Phetmang's body was found is labeled Point Bin Exhibit 1.
                                                            4
     Case 3:19-mj-01372-AGS Document 1 Filed 04/05/19 PageID.6 Page 6 of 26




 1     C. Phetmang's Last Known Movements - May 25, 2018
 2         18.      The NSW Police investigation determined that prior to his death, Phetmang
 3 frequently purchased, used, and sold small quantities of methamphetamine.
 4         19.      According to Maneesuriya, Phetmang left his Hurtsville residence at
 5 approximately 12:30 pm on Friday May 25, 2018 after saying that he was going to pick up
 6 a half of gram of methamphetamine that had been left out of a quantity that he had sold to
 7 an associate - Farhad Ghahremani ("Ghahremani") the previous day purchased near Mr.
 8 B's Hotel in Sydney's Central Business District. 4
 9        20.       Beginning at approximately 9:50 am on May 25, 2018, Phetmang was in
10 regular mobile phone contact with Dion. Dion and Phetmang met at approximately 7:00
11 pm that evening.
12        21.       According to a witness interview conducted by NS W Police with Jetsadakom
13 Khumpol ("Khumpol"), an associate of Phetmang, Phetmang asked to borrow money on
14 May 25, 2018 to purchase methamphetamine that he intended to sell to a "customer." Dion
15 also stated in a telephone call to NSW Police that he met with Phetmang on the evening of
16 May 25, 2018 to purchase AUD $900 worth ofmethamphetamine.
17        22.      At about 7:30 pm on May 25, 2018, Phetmang and Dion travelled in Dion's
18 2004 Hyundai Terracan to a 7-Eleven convenience store in South Hurtsville. 5 Security
19 footage obtained by the NSW Police Force shows Dion made three attempts to use the
20 store's ATM. In the footage, Dion is wearing a bluet-shirt with a distinctive white design
21 on it. This t-shirt matches the t-shirt that was used to bind the wrists and ankles of
22 Phetmang's body.
23        23.      At approximately 7:38 pm, Phetmang and Dion left the 7-Eleven in Dion's
24 Hyundai. According to records received by NSW Police from Phetmang's Google account,
25 at that time he begin a 33-minute trip from the 7-Eleven to a location approximately 100
26
          4
              Mr. B's Hotel is labeled as Point Con Exhibit 1.
27
          5
              The 7-Eleven location is labeled as Point Don Exhibit 1.
28
                                                        5
     Case 3:19-mj-01372-AGS Document 1 Filed 04/05/19 PageID.7 Page 7 of 26




 1 meters from Dion's apartment at 15/473 Burwood Road, Belmore, NSW6 (hereinafter the
 2 "Belmore Unit").
 3         24.     At approximately 11 :02 pm on May 25, 2018, Pichet Laowongkot
 4 ("Laowongkot"), an associate of Phetmang' s received a call from Phetmang' s phone, but
 5 Laowongkot could not hear anyone speaking. According to Laowongkot, around the same
 6 time, he received a text from Phetmang's Samsung phone which read, "[C]an I call you
 7 back later." When interviewed, Laowongkot noted that the use of English in this message
 8 - rather than his and Phetmang's native Thai - was unusual. Cell phone tower records
 9 establish that at the time this text was sent, Phetmang's phone was in the Kingsgrove area. 7
10         25.      At approximately 11 :05 pm on May 25, 2018, Dion's roommate and employer
11 Adib El-Anani ("El-Anani") received a number of text messages from Phetmang's phone
12 offering to sell El-Anani methamphetamine and stating that Phetmang was in the
13 Kingsgrove area. In an interview, El-Anani stated that he did not see these messages as he
14 was asleep at the time they were received.
15         26.      Based on witness interviews conducted by NSW Police and phone records, all
16 calls and messages to Phetmang from family and associates after May 25, 2018 appear to
17 have gone unanswered.
18     D. May 27, 2018 - Dion's Movements and Flight from Australia
19         27.     About 5:53 am on Sunday, May 27, 2018, Dion's mobile telephone connected
20 to a cell tower at Sydney Olympic Park. At approximately 6:24 am on Sunday, May 27,
21 2018, Dion's mobile telephone activated cell towers in the East Killara area of Sydney.
22 Consistent with this, a vehicle matching Dion's was seen on surveillance footage on Savoy
23 Avenue, a street in East Killara.
24        28.      According to information received as part of the NSW Police investigation,
25 the following day a construction worker located clothing and items in garbage bags inside
26
          6
              The Belmore Unit is labeled as Point E on Exhibit 1.
27
          7
              The Kingsgrove area is labeled as Point F on Exhibit 1.
28
                                                        6
     Case 3:19-mj-01372-AGS Document 1 Filed 04/05/19 PageID.8 Page 8 of 26




 1 a water retention tank located below a garage at a property under construction on Redfield
 2 Road in the same East Killara area. 8 Dion and El-Anani had previously worked at this
 3 property as tilers.
 4         29.      NSW Police obtained the property that was discovered in the water tank and
 5 elsewhere on the Redfield Road property, which included:
 6                   a.   shoes, a cap, a jacket, and glasses that appear identical to those worn by
 7                        Phetmang in the May 25, 2018 7-Eleven surveillance footage and
 8                        Phetmang's DNA profile was located on some of these items;
 9                   b. work trousers similar in appearance to those worn by Dion in the May
10                        25, 2018 7-Eleven surveillance footage;
11                   c. black colored material similar to that located around Phetmang's ankles;
12                   d. two tire irons and a metal bar;
13                   e.   documents bearing the name of Dion's wife Aycha El-Lon ("El-Lon").
14         30.      At approximately 12:28 pm on May 27, 2018, Dion dialed "000" - the
15 Australian equivalent of 911 - using his mobile telephone. Dion told the operator that he
16 was a United States citizen in Sydney visiting a friend. Dion identified himself by name
17 and stated that his friend was a drug user who he was attempting to get help, but that a
18 "drug dealer" had found this out and telephoned Dion to threaten him. The operator tried
19 to convince Dion to meet police to discuss the matter, but Dion hung up and could not be
20 contacted again. Cell phone tower records show that Dion's phone was in the East Killara
21 area when he made this call.
22         31.       Cell phone records establish that after making this call, Dion left the East
23 Killara area and returned to the Belmore Unit.
24         32.      Based on witness interviews and evidence uncovered in the course of their
25 investigation, NSW Police believe that upon returning to the Belmore Unit on May 27,
26 2018, Dion used a high-pressure washer and cleaning products from his apartment to wash
27
28         8   The Redfield Road location is labeled as Point G in Exhibit 1.
                                                          7
     Case 3:19-mj-01372-AGS Document 1 Filed 04/05/19 PageID.9 Page 9 of 26




 1 the interior of his vehicle in a car wash bay housed in the underground parking lot of the
 2 Belmore Unit. Consistent with this conclusion, El-Anani reported that the following day,
 3 Monday, May 28, 2018, he discovered that many of Dion's possessions were missing from
 4 their apartment. El-Anani also discovered Dion's vehicle in the parking garage. According
 5 to El-Anani, the vehicle was not in its assigned parking space, had been left unlocked with
 6 the windows down, and the interior saturated with water.
 7          33.     At approximately 6:00 pm on May 27, 2018, Dion travelled from the Belmore
 8 Unit to Sydney International Airport via Uber. At approximately 9:00 pm, Dion departed
 9 Sydney on a Hawaiian Airlines flight 452 to Honolulu. TECS records that I have reviewed
1O establish that Dion was inspected by CBP after landing on this flight at the Honolulu
11 Airport at 11 :26 am on May 2 7, 2018 .9 Dion then flew from Honolulu to San Diego later
12 on the same day.
13          34.     Purchase records from Expedia.com that were received by NSW Police and
14 that I have reviewed show that this return flight was purchased using a credit card in the
15 name of El-Lon at 8:10 pm on May 26, 2018 from an IP address located in Poway,
16 California. Factoring in the time change, this means that the flight was purchased at 1: 10
17 pm in Sydney, approximately 40 minutes after Dion's 000 call and eight and a half hours
18 before the flight took off. The address listed for the purchaser is Dion's former address but
19 does not include the apartment number.
20      E. Physical Evidence Connecting Dion to Phetmang's Murder
21          35.     As discussed above, the t-shirt that Dion is wearing in the May 25, 2018 7-
22 Eleven footage appears to match the strips of t-shirt material that were used to bind
23 Phetmang' s wrists and were stuffed into his mouth. The image below shows the strips
24 discovered with Phetmang's body and the 7-Eleven footage.
25
26
            9
27             This local time is before Dion's departure from Sydney because Australia is on the opposite
     side of the International Date Line, meaning that this approximately 10 hour flight lands several hours
28   "before" it took off.
                                                         8
     Case 3:19-mj-01372-AGS Document 1 Filed 04/05/19 PageID.10 Page 10 of 26




 1
 2
 3
 4

 5
 6
 7
 8
 9
10
                T-Shirt Strips Recovered with Phetmang's Body (Left); Dion in 7-Eleven Footage (Right)
11
           36.       On June 19, 2018, NSW Police executed a search warrant on the Belmore
12
     Unit. As part of the execution of this warrant, they conducted a forensic examination of
13
     the apartment, the car wash bay in the apartment complex's garage, and both Dion and El-
14
     Anani's vehicles.
15
           37.       In the course of the search, NSW Police seized the following:
16
                    a. A black Dewalt work boot matching the boot that was found under
17
                       Phetmang' s body. According to El-Anani, these boots belonged to Dion,
18
                       who had stolen them some weeks prior at a Bunnings 10 store;
19
                    b. sheets of black corflute plastic identical to those that were wrapped around
20
                       Phetmang's body. These sheets were located both in the car wash bay and
21
                       inside Dion's vehicle;
22
                    c. cigarette butts, gloves, medications bearing Dion's name, and other items
23
                       that El-Anani stated belonged to Dion;
24
                    d. a mattress that was found in the Belmore Unit's underground parking
25
                       garage that El-Anani stated had previously been in Dion's room.
26
27
           10
                Bunnings is an international hardware and garden chain with locations in Australia, New
28 Zealand, the United Kingdom, and Ireland.
                                                         9
     Case 3:19-mj-01372-AGS Document 1 Filed 04/05/19 PageID.11 Page 11 of 26




 1         38.   DNA testing conducted by NSW Police found DNA traces belonging to an
 2 unknown individual on:
 3               a. On the material gag located in Phetmang's mouth one of the rope bindings
 4                  tied around the black Corflute plastic surrounding Phetmang's body;
 5               b. the knotted blue and white T-shirt that was tied around Phetmang's wrists;
 6               c. the wall of the car wash area in the underground garage of the Belmore
 7                  Unit;
 8               d. the two pairs of men's ·trousers located in the water tank at Redfield Ro'1:d,
 9                  East Killara.
10         39.   The DNA pulled from these·items matches the DNA located on the cigarette
11 butts, mattress, and medication packets in Dion's name, seized during the search warrant
12 at the Belmore Unit.      The DNA pulled from these items also matched clothes that,
13 according to a witness interviewed by NSW Police, had been abandoned by Dion at an old
14 address in Melbourne, Victoria. The analysis also specifically excluded El-Anani and
15 Ghahremani as being the source of this DNA. Based on these facts, the NSW Police believe
16 that the DNA belongs to Dion.
17         40.   In addition, DNA analysis showed that DNA matching Phetmang's was found
18 on the following items:
19               a. The driver's side headrest of Dion's Hyundai vehicle;
20               b. a blood stain in the knee area of the pants that appeared identical to Dion's
21                  that were found in the water tank at the Redfield Road location
22       F. Dion's Possession and Use of Phetmang's Property
23         41.   NSW Police believe, based on their investigation, that at the time he departed
24 Sydney on May 27, 2018, Dion had in his possession Phetmang's mobile telephone as well
25 as at least three of Phetmang's credit cards.
26         42.   At approximately 8:20 pm on May 27, 2018, El-Anani received text messages
27 from Phetmang's mobile phone that purported to offer methamphetamine for sale in the
28 Hurtsville area.    Based on those text messages, El-Anani went to Hurtsville to meet
                                                   10
     Case 3:19-mj-01372-AGS Document 1 Filed 04/05/19 PageID.12 Page 12 of 26




 1 Phetmang, but Phetmang did not arrive, and his phone was shut off when El-Anani
 2 attempted to reach him. Cell tower records show that the at the time these messages were
 3 sent, Phetmang's phones were in the area of the Sydney airport and that after they were
 4 sent Phetmang's mobile phones left Australia at approximately the same time that Dion's
 5 did and subsequently connected to cell phone towers in the United States. NSW Police

 6 therefore believe that these messages were actually sent by Dion using Phetmang's phone
 7 while Dion waited to take off from the Sydney airport.
 8         43.   Furthermore, bank records reviewed by the NSW Police show that multiple
 9 unsuccessful attempts were made to use one ofPhetmang's credit cards in the United States
10 and Tijuana between June 11, 2018 and June 19, 2018.
11         44.   A second card, one issued by St. George Bank ending in -7398, was
                       ..
12 successfully used on several occasions irt California and Tijuana.between June 10 and June
13 20, 2018.
14         45.   For example, records relating to Phetmang's -7398 credit card show that on
15 June 16, 2018 at approximately 3:34 pm, AUD $149.28 was spent on a purchase at Baja
16 Duty Free in San Ysidro California. On the same day, charges of AUD $15.54 and $20.54
17 were made at Cafe De La Flora in Tijuana, Mexico at 4:54 pm and 5:09 pm respectively.
18 TECS records that I have reviewed show that less than an hour later - at 6:05 pm, Dion
19 entered the United States from Tijuana via the vehicle lanes of the San Ysidro port of entry.
20         46.   Later that same day, at approximately 8: 19 pm, Phetmang' s card was used for
21 an AUD $19.92 purchase at North Park Produce in Poway, California. Surveillance video
22 obtained by the San Diego County Sherriff s office in response to an Interpol request by
23 NSW Police shows that Dion made this purchase.
24      G. Dion's Calls to NSW Police Regarding Phetmang's Murder
25         47.   On June 20, 2018, NSW Police issued a press release requesting information
26 relating to Phetmang's movements and any sightings of Dion's vehicle around the time of
27 the murder. On the same day, Dion called the NSW Police from the United States and
28 made a number of statements regarding the events discussed above, Phetmang,
                                                 11
     Case 3:19-mj-01372-AGS Document 1 Filed 04/05/19 PageID.13 Page 13 of 26




 1 Ghahremani, El-Anani, and methamphetamine purchases amongst himself and these three.
 2 Dion began the conversation by stating that he was calling because he had seen media
 3 reports regarding his vehicle and that he believed that El-Anani "has done something bad."
 4         48.   At points in the conversation, Dion stated that he had text messages and
 5 WhatsApp correspondence with these individuals regarding drug transactions, his vehicle,
 6 and Phetmang's murder.       Dion stated that he had numerous screenshots and saved
 7 messages on his phone with El-Anani that he would send to NSW Police, but to date, Dion
 8 has not sent these communications.
 9         49.   In the same conversation, Dion· stated that on the night he last saw Phetmang
10 - presumably May 25, 2018 - he met Phetmang and went to a 7-Eleven ATM for the
11 purpose of buying methamp~etamine"for El-Anani. Dion claimed that he left the 7-Eleven
12 after El-Anani showed up, with Phetmang still present. This claim is contradicted by the
13 7-Eleven surveillance footage, which does not show El-Anani being present ~nd shows that
14 Phetmang and Dion left together.
15         50.   Between June 27, 2018 and June 29, 2018, NSW Police Homicide Detectives
16 exchanged emails and had multiple telephone conversations with Dion.               In that
17 correspondence, Dion stated that he was in possession of some of Phetmang's property,
18 including two mobile phones.
19         51.   During one of the phone calls, Dion briefly put his wife, Aycha El-Lon ("El-
20 Lon") on the phone to talk to the detectives. El-Lon stated that she had purchased Dion's
21 May 27, 2018 flight reservation from Sydney to the United States because she believed
22 Dion had been threatened by multiple people in Australia.          This claim contradicts
23 statements Dion made to the NSW Police and others regarding his reason for leaving
24 Australia. For example, in the June 20, 2018 phone call with NSW Police, Dion stated that
25 he returned to the United States because an insurance matter that he had been waiting to
26 settle had been completed. According to a witness interview with Soma Hart, an associate
27 of Dion's with whom he had conversations on the date of his departure, Dion told Hart that
28 he was leaving for the United States because El-Lon was suffering with cancer and there
                                                12
     Case 3:19-mj-01372-AGS Document 1 Filed 04/05/19 PageID.14 Page 14 of 26




 1 was a risk that Dion and El-Lon's minor children would be taken away if she was unable
 2 to care for them.
 3          52.    On June 29, 2018, Dion sent an email that included a photo attachment of
 4 Phetmang's property that Dion was in possession of in the United States. That photo, is
 5 below, and includes multiple credit cards, a mobile phone, a thumb drive, and other
 6 miscellaneous items.
 7
 8
 9
10
11
12
13
         H. Probable Cause That Evidence is Located in the Subject Vehicle to Be
14
            Searched
15
            53.    On September 12, 2018, Task Force Officer (TFO) Angela Tsuida and- I
16
      interviewed Dion's ex-wife, Aycha El-Lon. During the interview, El-Lon explained that
17
      when Dion returned from Australia on May 27, 2018 he did not have a car. Initially Dion
18
      drove El-Lon's car, but she needed her car in order to take care of her children. El-Lon
19
      purchased the Subject Vehicle for Dion shortly after his return. Dion was supposed to
20
      register the car in his name, but El-Lon explained that to her knowledge Dion never
21
      completed the registration. El-Lon provided me with the registration card for the car and
22
      pointed out that it still had the previous owner's name on it instead of Dion's name. El-Lon
23
      believed that the title was inside the car.
24
            54.    During the September 12, 2018 interview, El-Lon told me that she believed
25
      the Subject Vehicle was still parked at Barona Casino. Dion had been at the casino and
26
      decided he wanted to see his children so he took a taxi cab to El-Lon's apartment on
27
      September 6, 2018. While at the apartment, Dion was arrested by a bail bondsmen due to
28
                                                    13
     Case 3:19-mj-01372-AGS Document 1 Filed 04/05/19 PageID.15 Page 15 of 26




 1 a previous domestic violence charge. Additionally, after Dion was arrested, Dion called
 2 El-Lon and asked her to come pick up his car key from San Diego County Central Jail and
 3 move the car from the casino so that it would not be towed. El-Lon believed all of Dion's
 4 property was in his car because he moved all of his belongings out of her apartment
 5 following an argument they had about a month and a half after Dion returned to the United
 6 States from Australia.
 7          55.   On September 12, 2018 after interviewing El-Lon, TFO Tsuida and I went to
 8 Barona Casino and located the Subject Vehicle in the "Diamond Lot" located closest to the
 9 front door of the casino.
10          56.   Barona Casino security staff confirmed that the Subject Vehicle had been at
11 the casino since September 6, 2018 and had not moved since that time. Barona Casino
12 personnel provided me with a copy of a win/loss balance statement for Barona Account #
13    1146574, as well as a letter dated September 12, 2018 which the casino sent to Dion at his
14 request. The win/loss balance sheet showed Dion had visited the Barona Casino 48 times
15 between May 28, 2018 and September 6, 2018. The Subject Vehicle was then towed to
16 the San Diego FBI Office and stored in a secured lot. I followed the tow truck from the
17 casino to the San Diego FBI Field Office and had it within my sight at all times.
18          57.   Based on my experience and training, and the information set forth herein,
19 there is probable cause that the following items will be found in the Subject Vehicle and
20 that these items/information constitute evidence relating to violations of Section 18 of the
21 Crimes Act of 1900 (murder) and Section 192(E) of the Crimes Act of 1900 (fraud):
22                a. Property belonging to Phetmang, including bank cards, identification
23                   documents, a thumb drive, mobile phones, SIM cards, and other items;
24                b. communications, records, or other evidence of statements made by Dion or
25                   others regarding his interactions with Phetmang and/or Phetmang's murder,
26                   including, but not limited to, communications with El-Anani and other
27                   associates of Phetmang;
28
                                                 14
     Case 3:19-mj-01372-AGS Document 1 Filed 04/05/19 PageID.16 Page 16 of 26




 1               c. receipts, records, or other such documents reflecting or related to purchases
 2                  made or transactions attempted using Phetmang's bank or credit cards;
 3               d. receipts, records, itineraries, communications, or other such documents
 4                  reflecting or related to the purchase of the air travel for Dion from Australia
 5                  to the United States on or about May 27, 2018;
 6               e. records or communications in any form, whether electronic or otherwise,
 7                  regarding the sale, purchase, or transfer of methamphetamine or other
 8                  related transactions between Dion and others, including but not limited to
 9                  Phetmang, El-Anani, Hart, and Ghahremani;
1O               f. records or communications in any form, whether electronic or otherwise,
11                  between Dion and others regarding the reason, timing, or other matters
12                  relating to his departure from Australia to the United States on or about
13                  May 27, 2018.
14               g. documents, receipts, communications, or other records relating to Dion's
15                  travel to and from Tijuana, Mexico between May 27, 2018 and June 30,
16                  2018.
17       I. Procedures For Electronically Stored Information
18         58.   With the approval of the Court in signing this warrant, agents executing this
19 search warrant will either tum over to Australian authorities for electronic search or employ
20 the following procedures regarding computers and other electronic storage devices,
21 including mobile phones and electronic storage media, that may contain data subject to
22 seizure pursuant to this warrant:
23                                        Forensic Imaging
24         59.   After securing the Subject Vehicle, or if sufficient information is available
25 pre-search to make the decision, the executing agents will determine the feasibility of
26 obtaining forensic images of electronic storage devices while onsite. A forensic image is
27 an exact physical copy of the hard drive or other media. A forensic image captures all the
28 data on the hard drive or other media without the data being viewed and without changing
                                                  15
     Case 3:19-mj-01372-AGS Document 1 Filed 04/05/19 PageID.17 Page 17 of 26




 1 the data. Absent unusual circumstances, it is essential that a forensic image be obtained
 2 prior to conducting any search of the data for information subject to seizure pursuant to
 3 this warrant. The feasibility decision will be based upon the number of devices, the nature
 4 of the devices, the volume of data to be imaged, the need for and availability of computer
 5    forensics specialists, the availability of the imaging tools required to suit the number and
 6 nature of devices found, and the security of the search team. The preference is to image
 7 onsite if it can be done in a reasonable amount of time and without jeopardizing the
 8 integrity of the data and the agents' safety. The number and type of computers and other
 9    devices and the number, type, and size of hard drives are of critical importance. It can take
10 several hours to image a single hard drive - the bigger the drive, the longer it takes. As
11 additional devices and hard drives are added, the length of time that the agents must remain
12 onsite can become dangerous and impractical.
13          60.    If it is not feasible t9 image the data on-site, computers and other electronic
14 storage devices, including any necessary peripheral devices, will be transported offsite for
15 imaging. After verified images have been obtained, the owner of the devices will be
16 notified and the original devices returned within forty-five (45) days of seizure absent
17 further application to this court.
18                          Identification and Extraction of Relevant Data
19          61.    After obtaining a forensic image, the data will be analyzed to identify and
20 extract data subject to seizure pursuant to this warrant. Analysis of the data following the
21 creation of the forensic image can be a highly technical process requiring specific expertise,
22 equipment and software. There are thousands of different hardware items and software
23 programs, and different versions of the same programs, that can be commercially
24 purchased, installed, and custom-configured on a user's computer system. Computers are
25 easily customized by their users. Even apparently identical computers in an office or home
26 environment can be different with respect to configuration, including permissions and
27 access rights, passwords, data storage, and security. It is not unusual for a computer
28
                                                   16
     Case 3:19-mj-01372-AGS Document 1 Filed 04/05/19 PageID.18 Page 18 of 26




 1 forensic examiner to have to obtain specialized hardware or software, and train with it, in
 2 order to view and analyze imaged data.
 3         62.   Analyzing the contents of a computer or other electronic storage device, even
 4 without significant technical challenges, can be very challenging. Searching by keywords,
 5 for example, often yields many thousands of hits, each of which must be reviewed in its
 6 context by the examiner to determine whether the data is within the scope of the warrant.
 7 Merely finding a relevant hit does not end the review process for several reasons. The
 8 computer may have stored metadata and other information about a relevant electronic
 9 record - e.g., who created it, when and how it was created or downloaded or copied, when
10 it was last accessed, when it was last modified, when it was last printed, and when it was
11 deleted. Keyword searches may also fail to discover relevant electronic records, depending
12 on how the records were created, stored, or used. For example, keywords search text, but
13 many common electronic mail, database, and spreadsheet applications do not store data as
14 searchable text. Instead, the data is saved in a proprietary non-text format. Documents
15 printed by the computer, even if the document was never saved to the hard drive, are
16 recoverable by forensic programs because the printed document is stored as a graphic
17 image. Graphic images, unlike text, are not subject to keyword searches. Similarly, faxes
18 sent to the computer are stored as graphic images and not as text. In addition, a particular
19 relevant piece of data does not exist in a vacuum. To determine who created, modified,
20 copied, downloaded, transferred, communicated about, deleted, or printed the data requires
21 a search of other events that occurred on the computer in the time periods surrounding
22 activity regarding the relevant data. Information about which user had logged in, whether
23 users share passwords, whether the computer was connected to other computers or
24 networks, and whether the user accessed or used other programs or services in the time
25 period surrounding events with the relevant data can help determine who was sitting at the
26 keyboard.
27         63.   It is often difficult or impossible to determine the identity of the person using
28 the computer when incriminating data has been created, modified, accessed, deleted,
                                                 17
     Case 3:19-mj-01372-AGS Document 1 Filed 04/05/19 PageID.19 Page 19 of 26




 1 printed, copied, uploaded, or downloaded solely by reviewing the incriminating data.
 2 Computers generate substantial information about data and about users that generally is
 3 not visible to users. Computer-generated data, including registry information, computer
 4 logs, user profiles and passwords, web-browsing history, cookies and application and
 5 operating system metadata, often provides evidence of who was using the computer at a
 6 relevant time. In addition, evidence such as electronic mail, chat sessions, photographs
 7 and videos, calendars and address books stored on the computer may identify the user at a
 8 particular, relevant time. The manner in which the user has structured and named files, run
 9 or accessed particular applications, and created or accessed other, non-incriminating files

10 or documents, may serve to identify a particular user. For example, if an incriminating
11 document is found on the computer but attribution is an issue, other documents or files
12 created around that same time may provide circumstantial evidence of the identity of the
13 user that created the incriminating document.
14         64.   Analyzing data has become increasingly time-consuming as the volume of
15 data stored on a typical computer system and available storage devices has become mind-
16 boggling. For example, a single megabyte of storage space is roughly equivalent of 500
17 double-spaced pages of text. A single gigabyte of storage space, or 1,000 megabytes, is
18 roughly equivalent of 500,000 double-spaced pages of text. Computer hard drives are now
19 being sold for personal computers capable of storing up to 2 terabytes (2,000 gigabytes) of
20 data. And, this data may be stored in a variety of formats or encrypted (several new
21 commercially available operating systems provide for automatic encryption of data upon
22 shutdown of the computer). The sheer volume of data also has extended the time that it
23 takes to analyze data. Running keyword searches takes longer and results in more hits that
24 must be individually examined for relevance. And, once reviewed, relevant data leads to
25 new keywords and new avenues for identifying data subject to seizure pursuant to the
26 warrant.
27         65.   Based on the foregoing, identifying and extracting data subject to seizure
28 pursuant to this warrant may require a range of data analysis techniques, including hashing
                                                18
     Case 3:19-mj-01372-AGS Document 1 Filed 04/05/19 PageID.20 Page 20 of 26




 1 tools to identify data subject to seizure pursuant to this warrant, and to exclude certain data
 2 from analysis, such as known operating system and application files. The identification
 3 and extraction process, accordingly, may take weeks or months. The personnel conducting
 4 the identification and extraction of data - which may include United States law
 5 enforcement officers, those working on their behalf, or their Australian counterparts - will
 6 complete the analysis within one-hundred twenty (120) days of this warrant, absent further
 7 application to this court.
 8          66.    All forensic analysis of the imaged data will employ search protocols directed
 9 exclusively to the identification and extraction of data within the scope of this warrant.
10                                   Genuine Risks of Destruction
11 Based upon my experience and training, and the experience and training of other agents
12 with whom I have communicated, electronically stored data can be permanently deleted or
13 modified by users possessing basic computer skills. In this case, only ifthe subject receives
14 advance warning of the execution of this warrant, will there be a genuine risk of destruction
15 of evidence.
16
                                    Prior Attempts to Obtain Data
17
            67.    The United States has not attempted to obtain this data by other means.
18
                              Procedures to Protect Third Party Privacy
19
            68.    All forensic analysis of the imaged data will employ search protocols directed
20


22
     pertaining to crimes outside the scope of the warrant, such information will not be used
23
      except to obtain a new warrant authorizing a search for such information. In the event a
24
     new warrant is obtained, the government may make use the data seized in any lawful
25
     manner. Absent a new warrant, the personnel conducting the analysis may continue to
26
      search for and seize data only within the scope of this warrant.
27
28
                                                   19
     Case 3:19-mj-01372-AGS Document 1 Filed 04/05/19 PageID.21 Page 21 of 26




 1                                      CONCLUSION
2          Based on the foregoing, I respectfully submit that Alex Dion committed the crimes
3 of Murder and Fraud, in violation of Sections 18 and 192E of the Crimes Act of 1900 of
 4 New South Wales; and,
 5         WHEREFORE, I request that the court issue search warrants for the Subject Vehicle,
 6 to seize the evidence in attachment B.
 7
 8                                          /JljdFt/f4hl/
 9                                          Michelle Hart, Special Agent
10                                          Federal Bureau of Investigation
11
12         SUBSCRIBED and SWORN to before me April            5 ,2019.
13
14
15
16
17                                          UNITED STATES MAGISTRATE JUDGE
18
19
20
21
22
23
24
25
26
27
28
                                                 20
Case 3:19-mj-01372-AGS Document 1 Filed 04/05/19 PageID.22 Page 22 of 26




             EXHIBIT 1
                                                                                                                                                                                                                              I 11'1:11!:JllL,i;:t
                                                                 rva11ona1           l""iflfpr;                                                                                                                ,~...                                  Brookvale      Curl   Cur~
                                                                                 0                             Killam                                                                                            '"',.,;,
                       Epping                                               Macquarie                                                                                                                                                                           Freshwa1er
ingford                                                                                                             Lmdfield
                                           Marsf1eld                          Park                                                                                                                                                                      m
         m                                                                                                                                                             Cast!e Cove
                                                                                                                                              rm
                       Eastwood                                                              ml                                                                                                                                              m
                                                                       North Ryde                                                             m
                                                                                                                                                                                                                                                     Manly Beach 0
                                                                                                       '*·                      Chatswood
                                                                                                                                                                                                                                                                     Manly
                        West Ryde                                                                                                            Artarmon
1ere     am                                                                                                      ml
                                                 Ryde                  1im                                     Lane Cove
       Blaxland
Riverside Park                                                                                                                                   St leonards                                                                                                        North Head
                                                                                                                                                1
                                                                                                                                                • i11/1•J   t.'1l
          o                            m                                         Gladesville                                                                                                         ID                     Mosman

           .:/'
                                                                                                                                                                  North Sydney               •
         -~ydney            SI. . rJ   B- Homebush Bay Drive                                                                                                                                                                 ()Taronga Zoo
       Olympic Park""'
                                                                                                                Sydney Harbour Bridge fl)
                                            Concord                                                                                                                           The            Rock~.'.$Mrs Macquarie·s Chair
:>mbe                  Homebush                                                   Five Dock                            Im
                                                                       Im                                              ·                         ., .>..                   Sydn~v
                                                                                                                     Darling Harbour (£1                                                q      C - Mr. B's Hotel                                     Rose Say
                                                 Burwood
  ~~                    Strathfield
                                        an                                                                    The University                         0                               Surry Hills
                                                                                 Ashfield
ullora                                                                                                          of Sydney                                                                                                                               Bondi Beach
                                                                        1
                                                            -\i'11",    fi.1.\
                                           1t"   '~ {;','~: ·:   I .                                             llD                 Newtown
              m                                                                                                                                                                                      ... Tamarama Beach O
                                                                                                                                                                                                     "'1"~1


                                                                                                       Marrickville                          Erskineville                                                                                 ct
ireenacre                                                                                                                                                                                           UNSW
                                                                                                                                                                                                    Sydney
                                       q:E -                 Bellmore Unit                                                           am
             •,        Lakembi:i                                 ,.               Earl wood
                                                                                                                                                                                                          0
                                                                                                                                                        {   1~h'1 f1 •1 ,,,._, :_;   },':I


                                                                                                                            . ~ 'j   j : I
                            Im                                                                                              1                                                                           .,,
                                                                                                                                                Masco1                                                   ~(,

nchbowl                . Roselands                  9             F-        Kings.gro"'.'~ocliffe                                                                                            ml
                       DI               Kmgsyrove                                                 ·   l'lll
                  ml
                                                                                                                                                                                                                                                                                   Case 3:19-mj-01372-AGS Document 1 Filed 04/05/19 PageID.23 Page 23 of 26




                                                                                                                 m                             ED                   Botany
                                                                 Ile!                                                                                                                                                  Maroubra
1er.vood                                                                                                        .........
                                                                                              Rockdale
                                                                                                                                                                     Banksmeadow                          ·"

takhurst
                                        Hurst~e A· Hurtsville%ghton·L..Sjlnds
             Mortdale                                    ft                                Kogarnh.
     Case 3:19-mj-01372-AGS Document 1 Filed 04/05/19 PageID.24 Page 24 of 26



                                 ATTACHMENT A
 1
                       DESCRIPTION OF ITEM TO BE SEARCHED
 2
 3
           The item to be searched is a black Chevrolet Malibu bearing California license
 4
      plate 6ZQH509 and VIN number 1G1ZC5E04CF133780 located at the FBI San Diego
 5
 6 Division, 10385 Vista Sorrento Parkway, San Diego, CA 92121. It is pictured below:
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     Case 3:19-mj-01372-AGS Document 1 Filed 04/05/19 PageID.25 Page 25 of 26




 1                                         ATTACHMENT B

 2                                       ITEMS TO BE SEIZED
 3 The items below, limited to evidence relating to violations of Sections 18 (Murder) and
 4    192E (Fraud) of the Crimes Act of 1900 of New South Wales (Australia), whether in
 5 printed or electronic format, for the period of May 1, 2018 through the present:

 6               a. Property belonging to Phetmang, including bank cards, identification

 7                  documents, a thumb drive, mobile phoµes, and other items;

 8               b. communications, records, or other evidence of statements made by Dion or

 9                  others regarding his interactions with Phetmang and/or Phetmang's murder,

10                  including, but not limited to, communications with El-Anani and other

11                  associates of Phetmang;
12               c. receipts, records, bank or credit card statements, or other such documents

13                  reflecting purchases made by Dion at Bunnings;
14               d. receipts, records, or other such documents reflecting or related to purchases

15                  made or transactions attempted using Phetmang's bank or credit cards;

16               e. receipts, records, itineraries, communications, or other such documents

17                  reflecting or related to the purchase of the air travel for Dion from Australia

18                  to the United States on or about May 27, 2018;
19               f. records or communications in any form, whether electronic or otherwise,

20                  regarding the sale, purchase, or transfer of methamphetamine or other

21                  related transactions between Dion and others, including but not limited to

22                  Phetmang, El-Anani, Hart, and Ghahremani;
23               g. records or communications in any form, whether electronic or otherwise,
24                  between Dion and others regarding the reason, timing, or other matters
25                  relating to his departure from Australia to the United States on or about
26                  May 27, 2018.
27
28
     Case 3:19-mj-01372-AGS Document 1 Filed 04/05/19 PageID.26 Page 26 of 26




 1               h. documents, receipts, communications, or other records relating to Dion's
 2                  travel to and from Tijuana, Mexico between May 27, 2018 and June 30,
 3                  2018.
 4          The items described above may be searched and seized irrespective of whether
 5 they are stored or maintained in electronic, magnetic, optical, digital, or paper format.

 6 This warrant specifically authorizes the search and seizure of records maintained on
 7 computer storage media, including mobile phones, computer hard drives, diskettes, USB
 8 storage devices (e.g., thumb drives, external hard drives), or any other media capable of
         '
 9 storing information in a form readable by a computer. This also includes all copies of the
10 information described above that may be located on any mobile phones, handheld
11 computers or other portable computing or data storage device, and any stored information
12 that is maintained as archive or backup copies. To obtain the above-described records,
13 the agents are authorized to seize the computers and/or storage media and make a mirror
14 image of the computers and/or storage media off-site for the purposes of searching.
15 Upon completion of the offsite imaging, the agents will attempt to return the seized
16 computers and/or storage media. If the information described above cannot be read and
17 understood without the software or programs that created those files or records, the
18 agents are authorized to seize such software and any documentation and manuals that
19 describe the software and instruct on its installation and use. For the same reason, the
20 agents are authorized to seize information about any encryption software and passwords
21 as well as information about any "cloud" storage devices and passwords.
22
23
24
25
26
27
28
                                                 2
